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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



COMMODITIES & MINERALS ENTERPRISE LTD.,#        16 Civ. 861 (ALC)

                            Plaintiff,

                 V.

CVG FERROMINERA ORINOCO, C.A .,

                            Defendants.




       PL4JNTIFF COMMODITIES & MINERALS ENTERPRISE LTD.'S
          MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION
        TO LIFT THE STAY AND TRANSFER FUNDS INTO ESCROW
    PURSUANT TO A JUDGMENT OF A UNITED STATES DISTRICT COURT
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                  Plaintiff Commodities & Minerals Enterprise Ltd. ("CME"), by and through its

attorneys, respectfully submits this Memorandum of Law in Support of its Motion to Lift the

Stay and Direct the Transfer of Funds into Escrow Pursuant to a Judgment of a United States

District Court.

                                       Preliminary Statement

                  On July 18, 2018, the United States District Court for the Southern District of

Florida confirmed a partial final arbitration award directing defendant CVG Ferrominera C.A.

("FMO") to post $62,730,279.98 into an escrow account as pre-award security for CME' s claims

in an ongoing arbitration against FMO. FMO has yet to pay a single dollar of this amount. To

satisfy this outstanding judgment - which is now registered in this District - CME seeks the

turnover of nearly $8 million in funds attached in this action at FM O' s New York bank account.

                  There can be no dispute that the judgment of the United States District Court for

the Southern District of Florida constitutes a final judgment requiring FMO to post security for

CME ' s claims in arbitration. Nor is there any dispute that the funds in FMO ' s New York bank

account are the property of FMO.        Thus, the only question that this Court must consider is

whether a turnover order would be consistent with any limitations imposed by the Foreign

Sovereign Immunities Act ("FSIA"). As set forth in further detail below, there are three separate

and independent exceptions to any immunity from pre-judgment attachment otherwise afforded

to FMO ' s assets, and a reasonable amount of time has elapsed since FMO received notice of the

Florida court' s decision. For these reasons, as discussed below, the motion should be granted.

                                     STATEMENT OF FACTS

                  CME commenced this action on February 4, 2016, seeking a maritime attachment

in aid of maritime arbitration pursuant to Rule B of the Supplemental Rules for Admiralty or
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Maritime Claims and Asset Forfeiture Actions of the Federal Rules of Civil Procedure ("Rule

B") and the Federal Arbitration Act, 9 U.S.C. § 1 et seq. (the "FAA"). See Declaration of Bruce

G. Paulsen dated December 21, 2018 ("Paulsen Deel.")~ 1. CME sought to attach FMO's assets

in this District up to the amount of CME's claims against FMO for the breach of various

maritime contracts, including the parties' Transfer System Management Contract dated August

7, 2010 (the "TSMC"). Id. Pursuant to this Court's order of attachment, FMO's New York bank

account with garnishee Bank of America, N.A. (the "Account"), containing approximately $7.8

million (a small portion of the amounts ultimately sought by CME), was attached. Id. ~ 2.

               On June 13, 2016, FMO moved to dismiss CME' s verified complaint or to vacate

the order of attachment, arguing, among other things, that it is an agency or instrumentality of

the Venezuelan government under the FSIA and, as such, its property (including the Account) is

immune from attachment. See ECF No. 38; ECF No. 39 at 16-20. On September 29, 2016, the

Court issued a short-form order stating that "[f]or reasons that will be set forth in an upcoming

memorandum opinion, the Court finds that Defendant is an agency or instrumentality of a

foreign state," but directed CME to submit a letter motion setting forth any exception to the

FSIA that might apply. ECF No. 83 .

              By letter dated October 18, 2016, CME submitted its letter motion, detailing why

the Account is not immune from attachment under the FSIA pursuant to the exception set forth in

28 U.S.C. § 1610(d). ECF No. 84. Specifically, CME established that (i) FMO's funds are

located in the U .S. and used by FMO in the U.S. for commercial activity; (ii) FMO explicitly

waived immunity from prejudgment attachment in its contracts with CME; and (iii) the purpose

of the attachment in this proceeding was to secure CME's eventual judgment, and not to obtain


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jurisdiction over FMO. Id. In the approximately three months that followed prior to the stay of

this proceeding, FMO never responded to CME's letter.

               On January 5, 2017, the arbitration panel in the underlying arbitration between

CME and FMO arising out of the TSMC (the "TSMC Arbitration") entered a partial final award.

See Paulsen Deel. Ex. B (the "Partial Final Award"). As set forth in further detail therein, the

panel granted CME's motion for partial pre-award security under the TSMC in part, and ordered

FMO "to make a deposit in the amount of $62,730,279.98 in an escrow account to be established

by the parties and held by a first-class New York bank which shall act as escrow agent and must

irrevocably agree to abide by the orders of the Panel or the United States District Court for the

Southern District of New York concerning payment of the funds so held ." See id.~ 72.

               By letter dated January 16, 2017, CME advised the Court of the issuance of the

Partial Final Award, and requested a temporary stay of any decision on FMO's pending motion.

ECF No. 86. As stated in its letter, CME was preparing to file a petition to confirm and enforce

the Partial Final Award, which, if granted, would provide an additional exception to any

immunity from pre-judgment attachment under the FSIA. See id. at 3 (citing 28 U.S.C.

§ 1610(a)(6)). In addition, CME noted that if FMO were to challenge CME's petition to confirm

and enforce the Partial Final Award, a third exception to immunity would apply under Article VI

of the New York Convention. 1 See id. at 4. FMO did not oppose CME's request for a stay, see

ECF No. 94, which was granted by the Court on April 4, 2017. ECF No. 95.




       The "New Yark Convention" refers to The Convention on the Recognition and Enforcement of Foreign
       Arbitral Awards of June 10, 1958, as implemented by Chapter Two of the FAA, 9 U.S.C. §§ 201 et seq.

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                Thereafter, CME filed its petition to confirm and enforce the Partial Final Award

in the Southern District of Florida,2 and as anticipated, FMO moved to vacate the Partial Final

Award. See ECF No. l 05 (parties' joint status report).

                On July 18, 2018, the Florida district court ordered and adjudged that CME's

motion should be granted, and confirmed the Partial Final Award. See Paulsen Deel. Ex. C (the

"Florida Judgment") . The Court also denied FMO's motion to vacate same. Id. Although FMO

initially appealed the Florida Judgment to the Eleventh Circuit Court of Appeals, FMO did not

seek a stay pending appeal. Id. ~ 6. FMO subsequently abandoned its appellate rights in moving

to voluntarily withdraw its appeal, which was granted on October 25, 2018. Id. Ex. D.

                On November 7, 2018, CME registered the Florida Judgment in this District, by

commencing a miscellaneous action with the filing of a copy of the Florida Judgment, certified

by the Clerk of the United States District Court for the Southern District of Florida. See Paulsen

Deel. Ex. E. On the same date, CME's counsel wrote to FMO's counsel and inquired

(i) "whether FMO will consent to the turnover of the funds currently attached in [this

proceeding] into the escrow account;" (ii) "when FMO intends to deposit the balance of the

funds into the escrow account pursuant to the Panel's partial final award, which is now a final,

non-appealable judgment of a United States federal district court." Id. ~ 9 & Ex. F. To date, FMO

has not responded to CME's email, and the escrow account remains unfunded. Id.~ 10. 3

                On December 12, 20 I 8, the Court held a pre-motion conference regarding the

instant motion. FMO did not attend. This motion followed .

2
       CME's petition was filed in Florida as the seat of the TSMC Arbitration is in Miami.

       Following correspondence between and among CME, FMO, the arbitration panel, and the escrow agent
       (Signature Bank), the administrative details of the account were finalized, including the establishment of
       the escrow account at Signature Bank in New York. See Paulsen Deel.~ 10 n.1.

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                                                ARGUMENT

I.      The Account Is Subject To A Turnover Order Pursuant To The Florida Judgment

                 A motion to enforce a money judgment4 is governed by Rule 69(a) of the Federal

Rules of Civil Procedure, which provides that "proceedings supplementary to and in aid of

judgment or execution . . . must accord with the procedure of the state where the court is

located." Fed. R. Civ. P. 69(a). Under New York law, a judgment creditor may commence a

"special proceeding" against a third party who "is in possession or custody of money or other

personal property in which the debtor has an interest" seeking a turnover of the judgment

debtor's assets.    N.Y. CPLR 5225(b). Although the New York statute refers to a "special

proceeding," the Second Circuit has held that "a party seeking a money judgment against a non-

party garnishee may proceed by motion and need not commence a special proceeding, as long as

the court has personal jurisdiction over the garnishee." See CSX Transp., Inc. v. Island Rail

Terminal, Inc., 879 F.3d 462,469 (2d Cir. 2018). 5

                 Section 5225(b) requires "a two-part showing before the Court can order the third

party to turn over the money to the judgment creditor." Hoenlein v. Kaplan, 2005 N.Y. Misc.

LEXIS 3508, at *10-11 (Sup. Ct. N.Y. Cty. Oct. 31, 2005). First, the judgment creditor must

show that "the judgment debtor has an interest in the property that the creditor is trying to reach."

Id. at * 11.   Second, the Court must "find either that the judgment debtor is entitled to the




4
        For the avoidance of doubt, the Florida Judgment is a "money judgment," as it is "a judgment . .. directing
        the payment ofa sum of money." N.Y. CPLR 105(q).

        In this case, FMO's account is held in New York by third-party garnishee Bank of America.
        Simultaneously with the filing of this motion, CME served a copy of the motion papers on Bank of
        America's counsel, who has agreed to accept service.

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possession of such property, or that the judgment creditor's rights to the property are superior to

those of the party who controls or possesses that property." Id. at *12.

                CME easily satisfies the two-part test. First, FMO - the judgment debtor pursuant

to the Florida Judgment - has an interest in the property CME is trying to reach: the Account.

The Account necessarily belongs to FMO as evidenced by the fact that the funds were attached

after the garnishee was served with the order of attachment.                 And New York courts have

frequently found that bank accounts belonging to a judgment debtor are properly the subject of a

turnover order. See, e.g., Matter of Signature Bank, NA . v. HSBC Bank USA, NA ., 67 A.D.3d

917, 918-19 (2d Dep't 2009); State v. Lincoln Sav. Bank, 210 A.D.2d 489, 490 (2d Dep't 1994).

                Second, as the owner of the Account, FMO "is entitled to the possession" of the

funds therein or, alternatively, CME, as the judgment creditor, holds rights to the funds that are

"superior to those of the party who controls or possesses that property." Kaplan , 2005 N.Y.

Misc. LEXIS 3508 at* 12. 6 Under these circumstances, there can be no dispute that the Account

is properly the subject of a turnover order pursuant to the Florida Judgment, and CME's motion

should be summarily granted. See HEE Leasing Corp. v. Frank, 48 F .3d 623, 633 (2d Cir. 1995)

(absent disputed issues of fact, a court "may grant summary relief' in a turnover proceeding).

II.     A Turnover Order Is Consistent With The FSIA

                Given this Court's prior conclusion that FMO "is an agency or instrumentality of

a foreign state," ECF No. 83, CME must also establish that (i) the Account is not immune from

pre-judgment attachment, and (ii) a "reasonable amount of time" has elapsed since FMO

received notice of the Florida Judgment pursuant to 28 U.S .C. § 1610(c). As discussed further


        If FMO, the garnishee, or any third party claims otherwise, CME will address any competing claims in its
        reply. For present purposes, C1\.1E is unaware of any competing claims to the funds in the Account.

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below, there are three separate and independent bases to attach FMO's property under the FSIA.

Also, as FMO has failed to pay any amount of the Florida Judgment since its entry in July 2018,

CME satisfies the "reasonable amount of time" requirement of section 1610(c ).

        A.      The Account Is Subject To Attachment Pursuant To 28 U.S.C. § 1610(d)

                As set forth in CME's letter dated October 18, 2016 - to which FMO never

responded - FMO's New York bank account is not immune from pre-judgment attachment

pursuant to 28 U.S.C. § 1610(d). See ECF No. 84. Section 1610(d) permits the prejudgment

attachment of the property of a foreign state where, as here, (1) the property is used for

commercial activity in the U.S., (2) the foreign state explicitly has waived its immunity from

prejudgment attachment, and (3) the purpose of the attachment is to secure satisfaction of a

judgment that has been or may ultimately be entered against the foreign state, and not to obtain

jurisdiction.

                1.     The Account Is Located In The U.S. And Used By FMO For
                       Commercial Activity

                The FSIA defines "commercial activity" as "a regular course of commercial

conduct or a particular commercial transaction or act." 28 U.S.C. § 1603. The statute further

provides that "[t]he commercial character of an activity shall be determined by reference to the

nature of the course of conduct or particular transaction or act, rather than by reference to its

purpose." Id. As stated by the Second Circuit, the relevant inquiry is "whether the particular

actions that the foreign state performs (whatever the motive behind them) are the type of actions

by which a private party engages in trade and traffic or commerce." NML Capital, Ltd. v.

Republic of Argentina, 680 F.3d 254, 258 (2d Cir. 2010) (internal quotation marks and citations

omitted) (emphasis in original) .


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               In this regard, a foreign state's bank account in the U.S. may be subject to

prejudgment attachment when that account is used for commercial conduct of the type in which

private parties may engage. For example, NML Capital involved the prejudgment attachment of

a New York account owned by Argentina's Ministry of Science, Technology, and Productive

Innovation ("ANPCT"). NML Capital, 680 F.3d at 256. The seized account was used by the

ANPCT to purchase scientific equipment for use by grant beneficiaries. Id. Although Argentina

argued that ANPCT's purchase of scientific equipment was made to "implement a national

program of scientific research and development," the Second Circuit affirmed the district court's

attachment order, finding that the purchase of scientific equipment undoubtedly was a

commercial act. Id. In so doing, the court noted that the governmental purpose of a commercial

activity is irrelevant. Id. at 259 ("[T]he relevant inquiry concerns the power that is exercised,

rather than the motive for its exercise"). As such, the court found that the "commercial use"

requirement of section 1610 was satisfied. Id. at 260; compare EM Ltd. v. Republic ofArgentina,

4 73 F .3d 463, 466 (2d Cir. 2007) ("commercial use" requirement not satisfied where attached

account was Argentina's central bank' s account at the Federal Reserve Bank of New York and

the funds were restricted by the foreign state's law and could only be used for governmental

purpose) .

               Here, as in NML Capital, FMO used the Account to conduct commercial

transactions akin to those in which private parties may engage.                Indeed, as set forth in

previously-filed Declaration of Michael J. Frevola dated October 18, 2016 and the exhibits

thereto (ECF No . 84-1 ), 7 FMO used the Account to pay for goods, equipment, and services


       The Frevola Declaration and its exhibits contain information received from garnishee Bank of America
       pursuant to a protective order. Thus, it was filed under seal.

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related to the mining of iron ore. Many of those payments were directed to commercial vendors

in the United States. Transactions of this sort - the purchasing of goods and services in the U.S.

to support industrial activities - are clearly the types of activities in which private parties can

(and do) engage. The Account therefore satisfies the first prong of section 161 0(d).

               2.      FMO Waived Immunity From Prejudgment Attachment In The
                       TSMC

               CME has also established that FMO explicitly waived its immunity from

prejudgment attachment under section 1610(d)(l) in its underlying contracts with CME. While

"the asserted waiver must demonstrate unambiguously the foreign state's intention to waive its

immunity .. . [s]ection 1610( d) does not require recitation of 'the precise words "prejudgment

attachment" in order to waive immunity."' Banco de Seguros de! Estado v. Mut. Marine Office,

Inc., 344 F.3d 255,261 (2d Cir. 2003) (quoting S & S Mach. Co. v. Masinexportimport, 706 F.2d

41 l, 416 (2d Cir. 1983)).

               In Banco de Seguros, the Second Circuit held that a foreign state's agreement to

pre-arrange security as a contractual undertaking constituted an explicit waiver of attachment

immunity. Banco, a reinsurance corporation wholly owned by the Government of Uruguay, was

a party to Umbrella Agreements with the claimants. 344 F.3d at 258. The Umbrella Agreements

were reinsurance contracts that included arbitration agreements. Id. Under the Umbrella

Agreements, Banco was also obligated to "apply for and secure delivery to [claimants] a clean

irrevocable Letter of Credit." Id. After a dispute arose between Banco and the claimants, the

claimants commenced arbitration, and the arbitration panel issued pre-hearing orders requiring

Banco to post security for the claimants' claims. Id. Banco moved to vacate the security awards




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in this District, arguing that its assets were immune from prejudgment attachment. Id. Both

District Judges (Judge Scheindlin and Judge Pauley) confirmed the security awards.

               On appeal, the Second Circuit raised doubt as to whether the FSIA even applied

to arbitration proceedings, but did not reach that question. Rather, it held that if the FSIA did

apply, Banco had explicitly waived its immunity from prejudgment attachment. Id. Specifically,

the Second Circuit held that Banco's contractual agreement to open a letter of credit as security

for claimants' claims "inarguably demonstrates that the parties embraced 'the usefulness of

letters of credit as the means of securing their respective rights and obligations and as a means of

facilitating the transaction generally."' Id. at 262 (quoting Yasuda Fire & Marine Ins. Co. v.

Cont'! Cas. Co., 37 F.3d 345, 350 (7th Cir. 1994)). As such, the court found that the Umbrella

Agreements satisfied the explicit waiver requirement of section 1610(d)(I). Id.

               Here, FMO has similarly waived its immunity from prejudgment attachment in

entering into the TSMC with CME. Under the TSMC, FMO was obligated to pay CME monthly

throughput payments for a minimum of 500,000 tonnes of iron ore per month at a designated rate

per tonne, which throughput payments amounted to at least $3 .5 million per month. Paulsen

Deel. Ex. A (TSMC), Cls. 11-14. FMO agreed to pay CME this monthly throughput payment

"without deduction or offset." Id. In clause 17, FMO also agreed to establish an escrow account

in the amount of $3 .5 million "to serve as security to cover the compensation equivalent to the

monthly minimum guaranteed tonnage of 500,000 metric tonnes [of iron ore]." Id., Cl. 17

(emphasis added). FMO further agreed that, should it fail to pay CME the monthly throughput

rate, CME could draw down from the escrow account to receive its monthly throughput payment.

Id. In such case, FM O's failure to replenish the escrow account to the full amount of $3.5 million

would be considered a breach of the TSMC. Id. In other words, pursuant to Clause 17 of the
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TSMC, FMO agreed to establish an escrow account to serve as continuous security for the

minimum monthly throughput payments it owed to CME under the TSMC, and FMO agreed to

continuously replenish that escrow account in the event CME had to draw down on the escrow

account due to FMO's failure to pay CME the minimum monthly throughput rate.

               Similar to the letters of credit in Banco de Seguros, FMO's agreement in the

TSMC to establish an escrow account to secure CME's respective rights under that contract

served as an explicit waiver of FM O's attachment immunity. Banco de Seguros, 344 F.3d at 262.

Notably, the TSMC Arbitration arises, in part, out of FMO's failure to pay the monthly

throughput rate, and the amount of CME's throughput claims in the TSMC Arbitration (plus

interest) are precisely the amount awarded in the Partial Final Award. See Paulsen Deel. Ex. B

172. Accordingly, FMO has explicitly waived its immunity from prejudgment attachment.
               3.      The Purpose Of The Attachment Is To Secure CME's Eventual
                       Judgment

               CME has also established that the purpose of the attachment is to secure

satisfaction of a judgment that has been or may ultimately be entered against FMO, and not to

obtain jurisdiction. 28 U .S.C. § 1610(d)(2).

               Rule B attachments serve a dual purpose: (I) to obtain jurisdiction over the

defendant through its property, and (2) to obtain security for the plaintiff's maritime claims. See,

e.g., Swift & Co. Packers v. Compania Columbiana de/ Caribe, S.A., 339 U.S. 684, 693 (1950);

see also Venus Lines Agency v. CVG Indus. Venezolana de Aluminio, CA, 210 F.3d 1309, 1312

(11th Cir. 2000) (citing Seawind Compania, S.A. v. Crescent Line, Inc., 320 F.2d 580, 582 (2d

Cir 1963)). And while the dual purposes of Rule B cannot be separated (because security cannot

be obtained except as an adjunct to obtaining jurisdiction), for the purposes of Section 1610(d)

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"so long as the purpose of the prejudgment attachment is to obtain security and not jurisdiction,

it is irrelevant that an effect of the attachment is to obtain jurisdiction." Venus Lines, 210 F.3d at

1312 (citing Nehring v. S.S. MIV POINT VAIL, 901 F.2d 1044, 1051 (11th Cir. 1990)) (emphasis

in original).

                In its verified complaint, CME sought an order of maritime attachment pursuant

to Rule B in order to obtain security for a number of maritime claims against FMO that are

subject to arbitration, ECF No. 1, 11 87-94, and CME demanded a judgment in the form of a writ

of maritime attachment be issued against FMO ' s property within the district in an amount

sufficient to secure CME' s claims. Id., Prayer for Relief, 1 1. Furthermore, m CME's

memorandum of law in support of its Rule B application, CME explained that it was seeking

"security in aid of its claims to be brought against FMO in [multiple] arbitrations." ECF No. 8 at

5. At no point during this proceeding has CME suggested that its purpose for requesting the Rule

B attachment was to obtain in personam jurisdiction over FMO in order to pursue its maritime

claims against FMO in this Court. Rather, CME made clear in the verified complaint that all of

its claims against FMO are subject to arbitration, ECF No. 1 11 87-89, and CME requested that

this Court retain jurisdiction over this matter only through the entry of any judgment associated

with the recognition and confirmation of any arbitration awards rendered against FMO on

CME's claims. Id., Prayer for Relief, 114-5.

                Here, as in Venus Lines, it is clear that CME's primary purpose for the Rule B

attachment was to secure any arbitration award that it may obtain against FMO, and not to obtain

in personam jurisdiction over FMO by attaching the Account. Thus, the final condition to

establish an exception to immunity under section 1610(d) has been satisfied.


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       B.       The Account Is Subject To Attachment Pursuant To 28 U.S.C. § 1610(a)(6)

                In addition to FMO ' s explicit waiver under section 1610(d), its property is also

subject to attachment as a result of the Florida Judgment, confirming the Partial Final Award.

Pursuant to 28 U.S.C. § 1610(a)(6), the property of a foreign state used for a commercial activity

in the United States 8 shall not be immune from attachment in aid or execution upon a judgment

entered by a court of the United States if "the judgment is based on an order confirming an

arbitral award rendered against the foreign state." 28 U.S.C. § 1610(a)(6). Thus, whatever

hurdles may have previously existed to attaching FMO's assets in the United States (there were

none), they were eliminated upon entry of the Florida Judgment. See, e.g., So/gas Energy Ltd. v.

Fed. Gov. Nig., 2010 U.S. Dist. LEXIS 72326, at *5-6 (S.D. Tex. July 19, 2010) (noting that

"property in the United States belonging to the [foreign sovereign] that is used for commercial

activities in the United States is subject to attachment in aid of execution on the judgment

entered by the United States District Court for the District of Columbia based on the order

confirming the international arbitral award") ; see also Libancell S.A.L. v. The Republic of

Lebanon, 2006 U.S. Dist. LEXIS 29442, at *16 (S.D.N.Y. May 16, 2006) ("Should Libancell

ultimately succeed on [its petition to recognize and enforce the arbitration award,] the foreign

award will be reduced to a domestic judgment and Libancell may seek to attach Lebanon's

commercial assets under section 161 0(a)(6).").




       As noted supra at section II.A . I, FMO's property is used for commercial activity in the United States.

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       C.      FMO Also Waived Immunity In Moving To Vacate The Partial Final Award

               As noted above, FMO explicitly waived immunity by entering into the TSMC

long before the Florida Judgment was entered. But FMO's attempt to vacate the Partial Final

A ward provides yet another basis for this Court to find a waiver of immunity.

               Article VI of the New York Convention states, " [i]f an application for the setting

aside or suspension of the award has been made to a competent authority .. . the authority before

which the award is sought to be relied upon may ... on the application of the party claiming

enforcement of the award, order the party to give suitable security." 9 U.S.C. § 201, art. VI

(emphasis added) . Thus, Article VI expressly permits courts to impose security requirements on

parties seeking to set aside an award. See Int 'l Ins. Co. v. Caja Nacional De Ahorro Y Segura,

293 F.3d 392, 399-400 (7th Cir. 2002). Venezuela is a signatory to the New York Convention

and, as such, FMO ' s motion to vacate the Partial Final Award constituted an express waiver of

any immunity from pre-judgment attachment. See id.; see also Libancell S.A.L., 2006 U.S. Dist.

LEXIS 29442, at * 12.

       D.      A "Reasonable Amount Of Time Has Elapsed" Since FMO Received Notice
               Of The Florida Judgment

               Under 28 U.S .C. § 1610(c), a judgment debtor may not seek to attach the property

of a foreign state located in the United States "until the court has . . . determined that a

reasonable period of time has elapsed following the entry of judgment and the giving of any

notice required under section 1608(e) of this chapter." 28 U.S.C. § 1610(c). FMO cannot

dispute that it received notice of the Florida Judgment when it was entered on July 18, 2018, as it

appeared in the action and in fact filed an appeal of the Florida court's decision. Cf Crystallex

Int'! Corp. v. Bolivarian Republic of Venez., 2017 U.S. Dist. LEXIS 221611, at *2 (D.D.C. June

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9, 2017) ("Respondent does not dispute that it has received the required notice, and has in fact

appealed the judgment."). Thus, the sole remaining question is whether a "reasonable amount of

time has elapsed" since July 18, 2018, without payment of the underlying judgment.

               While the statute does not specify what constitutes a "reasonable amount of time,"

courts consider '"evidence that the foreign state is actively taking steps to pay the judgment,' the

steps necessary to pay the judgment, or evidence of evasion of the judgment." See id. at *2

(quoting Ned Chartering & Trading, Inc. v. Republic of Pakistan, 130 F. Supp. 2d 64, 67

(D .D.C. 2001)). Here, there is no evidence that FMO has taken any steps to pay the judgment,

and it failed to even respond to CME' s request for a pre-motion conference on these issues or

appear at the Court' s pre-motion conference on December 12, 2018 . The Partial Final Award

was entered in January 2017, the Florida Judgment was entered in July 2018 (approximately 150

days ago), and to date, the escrow account remains unfunded. See Paulsen Deel. ~IO . This is

more than sufficient to satisfy section 1610(c). See Crysta/lex, 2017 U.S . Dist. LEXIS 22161 I at

*3 (60 days sufficient); Order, Gold Reserve Inc. v. Bolivarian Republic of Venezuela, 14-cv-

2014 (D .D.C. Jan. 20, 2016), ECF No. 48 (same); Peterson v. Republic of Iran, 2013 U.S. Dist.

LEXIS 40470, at *137 (S .D.N.Y. Mar. 13, 2013) (100 days sufficient); Gadsby & Hannah v.

Socialist Republic of Romania, 698 F. Supp. 483, 486 (S .D.N.Y. 1988) (two months sufficient);

Ferrostaal Metals v. S.S. Lash Pacifico, 652 F. Supp. 420, 423 (S .D.N.Y. 1987) (three months

sufficient).

                                         CONCLUSION

               For the foregoing reasons, CME respectfully requests that the Court grant its

motion in its entirety and enter an order pursuant to Fed. R. Civ. P. 69 and N .Y. CPLR 5225(b),

(i) lifting the stay in this action, and (ii) directing garnishee Bank of America, N.A. to transfer
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the funds attached in this action at FMO's New York bank account, into the escrow account

established pursuant to the Partial Final Award, as confirmed by the Florida Judgment, and grant

Petitioner such other and further relief as the Court deems just and proper.

New York, New York
December 20, 2018




                                                      Respectfully submitted,


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